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                                                      November 4, 2020

   VIA ECF

   Honorable Jesse M. Furman
   United States District Court
   Southern District of New York
   40 Foley Square
   New York, NY 10007

   In re: United States v. Arguedas, 20-CR-135

   Dear Honorable Judge Furman:

   I write in response to the Court’s Order on October 22, 2020 [Doc 249] regarding proposed
   trial dates for the Court’s consideration. Counsel for the defendants have conferred, and
   propose March 2022, April 2022 or May 2022 for a trial date in this case. The government is
   available for those dates. The Government estimates that the trial will last approximately 4-6
   weeks, depending on the number of defendants that proceed to trial.

   Thank you for your consideration of this request.


                                                      Respectfully submitted,




                                                      Susan K. Marcus, Esq.
                                                      Attorney for Simone Cordero

Trial is scheduled to begin March 7, 2022. That is a firm date. Counsel and the parties are cautioned that
any application - whether relating to discovery or relating to counsel - that is filed close to trial and could
affect the ability to start trial on that date may be denied on that ground. Within thirty days, each counsel
shall file a letter affirming that he or she has advised his or her client of the foregoing.

The Clerk of Court is hereby directed to terminate Doc. #267.

                                                                 SO ORDERED.




                                                                 November 6, 2020
